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          EXHIBIT 47
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF BRONX. I,A,S. PART 2
         Matter of JOSEPH AGNEW, ANTHONY GANG,
         WRONE GREENE and KAMER REID, on behalf of
         themselves and all others similarly situated,
                                                       Petitioners                     lndex No. 813r'31-2021E

                                                                                       JUDGTENT'ORDER
                                 -against-
                                                                                       Prcsent:
                                                                                       HON. ELIZABETH A. TAYLOR
          NEW YORK CITY DEPARTMENT OF CORRECTION
                                                   Resoondent.
          The following papen numbered I to read on this motion,
                                                      -                                              PAPERS NTIMBERED
          No    On Calendar         of                                                               (NYSCEF Coni Notice #s)
          Notice of Motion-Order to Show Cause - Exhibits and Affi davits          Annexed--------           E6- 104 . 106
          Answering Affidavit and Exhibi                                                                     t08-l t0
          Replying Affidavit and         Exhibits---                                                         Il2-l l5

          Pleadings   -   Exhibit
          Stipulation     -   Referee's Report   -Minutes--------------------
                                                                                                       105. I I   l. n6. t2t.   122
          Filed pap

          Upon the foregoing papers and due deliberation thereof, the Judgrnent/Order on this motion is as follows:


                   Order to show cause pursuant to CPLR 5104 and Judiciary Law $753 for an

          order holding respondent Department of correction in civil contempt for failing to

          comply with this court's order dated December 3, 2021 and entered on December 6,

          2021,is granted as follows.

                   On December 3,2021, this court granted movants' Article 78 petition and issued

          an order directing respondent Department of correction (Doc) "to immediately comply

          with its duties to:

                      a. Provide Petitioners' with access to sick call on weekdays, excluding
                      holidays, and to make sick call available at each facility to all persons in
                      DOC custody a minimum of five days per week within 24 hours of a
                      request, or at the next regularly scheduled sick call, whichever is first:
                      [and]

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                b. Safely keep in the New York City jails each person lawfully committed
                to his custody by providing sufficient security for the movement of
                incarcerated persons to and from health services, and by not prohibiting
                or delaying incarcerated persons' access to care, appropriate treatment,
                or medical or dental services."

                The order further directed respondent to "provide proof of substantial

          compliance" with the above within one week of the order. On February 1' 2022'

          petitioners made the instant motion for contempt, alleging that respondent failed to

          comply with the December 3,2021 order. Petitioners request compensatory fines

          totaling $477,250.00 for the agreed to number of instances of non-compliance with the

          subject order, to wit, 1,061 instances in December 2021 and 848 instances in January

          2022. Pelitioners also request "reasonable attorneys' fees," and an opportunity to

          submit, within 30 days from the date of the this order, "evidence of Petitioners'

          Attorneys' Fees if Respondent[] [has] not issued Petitioners' Attorneys' Fees."

                 It is well settled that:

                 [i]n order to find that contempt has occurred in a given case, it must be
                 determined that a lawful order of the court, clearly expressing an
                 unequivocal mandate, was in effect. lt must appear, with reasonable
                 certainty, that the order has been disobeyed. Moreover, the party to be
                 held in contempt must have had knowledge of the court's order, although
                 it is not necessary that the order actually have been served upon the
                 party. Finally, prejudice to the right of a party to the litigation must be
                 demonstrated (citations omitted) (McCormick v Axelrod,59 NY2d 574,
                 583 [1983], amended60 NY2d 652 t19831).

                 ln the case at bar, respondent does not dispute that the subject order is a clear

          and unequivocal mandate and it concedes that petitioners have met their initial burden

          to establish that respondent did not submit proof of 'substantial compliance" with the



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          December 3,2021 order within the directed time, or even as of February 16,2022,lhe

          return date of the instant order to show cause. Based upon the record, petitioners have

         established by clear and convincing evidence that they have been prejudiced by

          respondent's failure to comply with the December 3,2021 order. Nevertheless, "[o]nce

         the movant establishes a knowing failure to comply with a clear and unequivocal

          mandate, the burden shifts to the alleged contemnor to refute the movant's showing, or

          to offer evidence of a defense, such as an inability to comply with the order" (El-Dehdan

          v El-Dehdan,   1   1   4 AD3d 4, 17 l2d Dept 201 31, affd, 26 NY3d   1   I   [201 5]).

                 Respondent argues that the one week deadline to submit proof of "substantial

          compliance" with the order "was impossible to meet because DOC lacked the personnel

          to adequately facilitate access to sick call and transportation to and from health care

          services." Respondent further argues that is undisputed that DOC has experienced an

          unprecedented staffing crises directly related to the ongoing COVID-19 pandemic,

          which has resulted in a substantial reduction of its worKorce. Respondent submits,

          inter alia, the affidavit of Ada Pressley, its Bureau Chief of Facility Operations, in which

          she avers that DOC is not in "substantial compliance with the pertinent directives to

          provide timely access to the clinics." Ms. Pressley attests that respondents "saw the

          biggest increase in members of service out sick in December 2021 and January 2022

          with 1,831 and 2,229 members of service reported sick, respectively. Respondent

          alleges that, as a result, it has been unable to comply with the court's order due to

          forces not of its making.



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                 This court found that respondent raised sufficient facts of its inability to comply

          with the subject order to warrant a hearing on the existence of the defense (see

          El-Dehdan v El-Dehdan,114 AD3d 4,17 l2d Dept 20131, affd,26 NY3d 19 [2015] [The

          Court held that a hearing is required only if the papers in opposition raise a factual

          dispute as the elements of civil contempt, or the existence of a defensel; ln re Andrew

          8., 128 AD3d 1 513 [4th Dept    201 5] [Lower court     was unanimously reversed as it did not

          consider any reason for petitioner's noncompliance with the order or to hold a hearingl;

          Matterof Savas v Bruen,139 AD3d 73612d Dept 20161 [Reversed trial court's

          contempt as factual dispute as to the existence of the defense of an inability to pay

          required a hearingl).

                 The hearing was commenced on March 25,2022. The following witnesses

          testified at the hearing: 1) Ada Pressley, DOC's Bureau Chief of Facility Operations;

          and 2) Rabiah Gaynor, DOC's Executive Director of the Health Affairs Unit. The

          hearing concluded on April 15,2022, with the parties' written summations. The parties

          agreed that there were 1 ,061 instances of non-compliance with the subject order in

           December 2021 and 848 instances of noncompliance in January 2022. lt is noted that

           respondent did not allege at the hearing that it is in compliance with the December 3,

           2021 order.

                 The witnesses testified as to DOC's good faith attempts to comply with this

           court's order while faced with lack of staff to escort the inmates to the infirmary.

           However, it well settled that good faith attempts to comply with a court's order is not a



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          recognizable defense to a motion for contempt (see Matter of McCain v Dinkins, 'l92

          AD2d217 [1st Dept 1993], affdas mod,84 NY2d 216 [1994]). The record is devoid of

          any evidence of respondent's factual impossibility to comply with the December 3,2021

          order, and it is noted that respondent is not arguing that it lacks the authority or control

          to find a way to comply with the order (see Badgley v Santacroce, S00 F2d 33,37 l2d

          Cir '19861; Aspira of New Yo*, lnc. v. Board of Education,423 F.Supp. 647,654

          ls.D.N.Y.1976l).

                 Based upon the record in this matter, the court finds that the following has been

          established by clear and convincing evidence: 'l) that the order dated December 3,

          2021 was a lawful order of the court and expressed an unequivocal mandate for

          respondent to comply with its duties to provide inmates with access to sick call and not

          prohibit or delay them from health services; 2) respondent's failure to provide or delay

          inmates access to health services constitutes disobedience of the December 3, 3021

          order; 3) respondent had knowledge of the December 3,2021 order; and 4) petitioners

          have been prejudiced by respondent not complying with the order. The court further

          finds that respondent failed to meet its heavy burden to demonstrate that it is

          impossible to comply with the subject order. Accordingly, respondent is in civil

          contempt of this court's order dated December 3,2021.

                 The court finds that petitioners' attorneys are entitled to an award of counsel

          fees, beginning with the instant order to show cause filed on February 1,2022 through

          the summation filed on April 1 5, 2022, as a result of their successful prosecution of this


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          contempt proceeding.

                 ln light of the foregoing, it is hereby

                ORDERED AND ADJUDGED that the petitioners' application seeking to hold

          respondent in contempt is hereby granted; and it is further

                 ORDERED AND ADJUDGED that the respondent may purge itself from this

          finding of contempt by complying with the December 3,2021 order. Specifically, within

          30 days of entry of this order, respondent shall "provide proof of substantial

          compliance" with its duties to:

                 a. Provide Petitioners' with access to sick call on weekdays, excluding
                 holidays, and to make sick call available at each facility to all persons in
                 DOC custody a minimum of five days per week within 24 hours of a
                 request, or at the next regularly scheduled sick call, whichever is first;
                 Iand]

                 b. Safely keep in the New York City jails each person laMully committed
                 to his custody by providing sufficient security for the movement of
                 incarcerated persons to and from health services, and by not prohibiting
                 or delaying incarcerated persons' access to care, appropriate treatment,
                 or medical or dental services.

                 ORDERED AND ADJUDGED that in the event respondent does not comply with

          the December 3,2021 order, respondent shall pay a compensatory fine, in the amount

          of $100.00 for each missed escort to the infirmary, from December 11,2021 through

          January 2022, to petitioners for its contemptuous conduct.

                 ORDERED AND ADJUDGED that the parties shall appear before the court on

           June 24,2022 al l   l:00 a.m., as a control date to determine whether the respondent

          has purged itself of this finding of contempt, and it is further



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                  ORDERED AND ADJUDGED that the respondent shall pay petitioners'counsel

          reasonable attorneys'fees incurred in this contempt proceeding. lf the parties are

          unable to agree on the amount of attorneys' fees, a hearing will be held on June 24,

          2022 al l l:00 a.m.

                  The foregoing shall constitute the judgment and order of this court.



          Dated    MAY 1    3 m22                                   +
                                                                    J.S.C

                                                            Erzmfi A.lh^or




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